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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 14-23208-CIV-LENARD/GOODMAN

     FLAVA WORKS, INC.,

            Plaintiff,
     vs.

     A4A RESEAU, INC.
     A4A NETWORK, INC.
     MARC PARENT,

           Defendants.
     ______________________________/

                 MOTION FOR PROCEEDINGS SUPPLEMENTARY AND
                        TO IMPLEAD PHILLIP BLEICHER

            Defendants/Judgment Creditors, A4A RESEAU, INC., a foreign corporation, A4A

     NETWORK, INC., a foreign corporation, and MARC PARENT, a foreign individual

     (collectively, the “Judgment Creditors”), by and through the undersigned counsel, and

     pursuant to Fed. R. Civ. P. 69(a) and § 56.29, Fla. Stat., hereby file this Motion for

     Proceedings Supplementary and to Implead Phillip Bleicher, and in support thereof, state:

            I.      INTRODUCTION

            1.       Judgment Creditors currently hold a judgment against Judgment Debtor

     FLAVA WORKS, INC. (the “Judgment Debtor”) in an amount totaling $81,958.72.

     Through this Motion, Judgment Creditors seek an Order granting Proceedings

     Supplementary against the Judgment Debtor in order (1) to seize certain property, namely,

     copyright registrations and/or unregistered copyrights and the inventory and goodwill

     associated therewith in the name of Judgment Debtor, and/or certain domain registrations

     owned by the Judgment Debtor and its alter ego, Phillip Bleicher, and otherwise to afford




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     the Judgment Creditors other complete relief possible in satisfying the judgment as this

     Court deems just and proper under the circumstances.

            II.     PROCEDURAL AND FACTUAL BACKGROUND

            2.      On April 13, 2018, Judgment Creditors filed a Verified Motion to

     Determine Reasonableness of Attorneys’ Fees, Costs, and Interest. [D.E. 160].

            3.      On September 20, 2018, the Court, in response to the aforementioned

     Motion, concluded in its Order Granting in Part and Denying in Part Judgment Creditors’

     aforementioned Verified Motion [D.E. 167] entering judgment for Judgment Creditors’

     attorneys’ fees in the amount of $79,092.75, costs in the amount of $241.62, and post-

     judgment interest in the amount of $2,624.35 for a total of $81,958.72, specifically stating

     “for which let execution issue.”

            4.      On December 4, 2018, Judgment Creditors filed an application for a Writ

     of Execution. [D.E. 172].

            5.      A Writ of Execution has been issued by the clerk on December 7, 2018

     [D.E. 173] pursuant to the specific language of the Order. [D.E. 167].

            6.      Judgment Creditors understand that viable assets of the Judgment Debtor

     include certain intellectual property, namely copyright registrations and/or unregistered

     copyrights, top level internet domain names and the inventory and goodwill associated

     therewith, specifically including the following intellectual property (“Flava IP”) without

     limitation:

            (a)     All Copyright Registrations owned by Flava Works, Inc., as set forth in

                    Exhibit I;




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            (b)     All Copyright Registrations sued upon in this action by Judgment Debtor

                    but titled in the name of Phillip Bleicher, Judgement Debtor’s alter ego, as

                    set forth in Exhibit II;

            (c)     All top level Internet domain names owned by Flava Works, Inc. as set forth

                    in Exhibit III;

            7.      Pursuant to § 56.29(9), Fla. Stat., the Judgment Creditors are entitled to

     Proceedings Supplementary, and an Order from the Court (1) to seize certain property,

     namely, copyright registrations and/or unregistered copyrights and the inventory and

     goodwill associated therewith in the name of Judgment Debtor, and/or certain domain

     registrations owned by the Judgment Debtor, specifically including the Flava IP, (2) to

     pierce the corporate veil and reach corporate assets in the hands of the Judgment Debtor’s

     individual stockholder(s), (3) to set aside fraudulent transfers of Judgment Debtor’s

     property to third persons, (4) to reach the Judgment Debtor’s assets in the hands of a

     successor corporation(s) under the theory of successor liability, and (5) to afford the

     Judgment Creditors other complete relief possible in satisfying the judgment as this Court

     deems just and proper under the circumstances.


            8.      Pursuant to § 56.29(9), Fla. Stat., an Affidavit stating that the Judgment

     Creditors hold an unsatisfied judgment, that the execution is valid and outstanding, and

     that the Judgment Creditors are entitled to Proceedings Supplementary has been properly

     filed and is attached hereto as Exhibit IV.

            9.      As a result of the foregoing, the Judgment Creditors are entitled to

     Proceedings Supplementary as a matter of law, including the recovery of costs and

     attorneys’ fees pursuant to § 56.29(9), Fla. Stat.




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            III. INCORPORATED MEMORANDUM OF LAW

            A. Proceedings Supplementary

            Proceedings Supplementary is a post-judgment remedy by which a creditor may

     summarily discover and subject property belonging to a debtor to the satisfaction of his

     judgment. Proceedings Supplementary not only enables the judgment creditor to discover

     the assets subject to his judgment, but also allows the judgment creditor to subject these

     assets to his judgment by use of summary proceedings. See, generally, Proceedings

     Supplementary, in Vol. 1, JUDGMENT ENFORCEMENT IN FLORIDA, 3 (Lorman

     Education Services, 2007). The proceedings are governed by § 56.29(9), Fla. Stat.

            Proceedings Supplementary are entirely statutory in nature. Yet, courts generally

     interpret the statute broadly and liberally to afford a judgment creditor the most complete

     relief possible in satisfying his judgment. See Bleidt v. Lobato, 664 So.2d 1074 (Fla. 5th

     DCA 1995); Neff v. Adler, 416 So.2d 1240 (Fla. 4th DCA 1982); Puzzo v. Ray, 386 So.2d

     49, 50 (Fla. 4th DCA 1980). For instance, Fla. Stat. § 56.29 allows the Court to enter any

     order required to carry out the purpose of the statute to subject property, or property rights

     of any defendant to execution.

            Proceedings Supplementary is an effective tool for discovering a debtor's property

     once it is determined that the debtor currently does not have assets in his possession to

     satisfy a creditor's judgment. For example, once a judgment debtor's assets are discovered,

     Proceedings Supplementary may be used to set aside fraudulent transfers of the debtor's

     property to third persons. A court may use Proceedings Supplementary to pierce the

     corporate veil and reach corporate assets in the hands of individual stockholders. See Allied

     Indus. Int'l., Inc. v. AGFA-Gevaert, Inc., 688 F.Supp. 1516 (S.D. Fla. 1988), aff'd., 900

     F.2d 264 (11th Cir. 1990). A court may also reach a debtor's assets in the hands of a



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     successor corporation under the theory of successor liability, i.e., mere continuation, de

     factor merger, alter ego or fraudulent transfer.1 See Amjad Munim, M.D., P.A. v. Azar, 648

     So.2d 145 (Fla. 4th DCA 1995). Most importantly, Proceedings Supplementary is used to

     reach equitable assets that are not subject to levy under a writ of execution, such as

     promissory notes, accounts receivable, choses in action, and, for purposes of this motion,

     intellectual property such as copyright registrations, or domain registrations. Continental

     Cigar Copr. V. Edelman & Co. 397 So.2d. 957 (Fla. 3d DCA 1981).


            In order to initiate proceedings supplementary, a judgment creditor need only allege

     by affidavit that (s)he holds an unsatisfied judgment, the execution remains valid and

     outstanding, and that the judgment creditor is entitled to these proceedings supplementary

     to execution. § 56.29(9), Fla. Stat. While simple to employ, the implications of proceedings

     supplementary are far reaching. Indeed, a judge may order any property of a judgment

     debtor, not exempt from execution, in the hands of any person or due to the judgment

     debtor to be applied toward the satisfaction of the judgment debt. § 56.29(9), Fla. Stat. A

     Court may, in its discretion, enter any order required to carry out the purpose of

     proceedings supplementary to subject property or property rights of any defendant to

     execution. § 56.29(9), Fla. Stat.

            B. Judgment Creditors are Entitled to Proceeding Supplementary

            The Judgment Creditors are entitled to these proceedings supplementary as a matter

     of law for an order (1) to seize certain property, namely, copyright registrations and/or

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       Proceedings Supplementary may also be used to secure, seize and sell corporate stock
     that is owned by the judgment debtor. See J.N. Laliotios Eng'g. Constr., Inc. v. Mastor,
     600 So.2d 1271 (Fla. 2d DCA 1992). It may also be used to enter injunctive relief to
     enjoin a transfer of assets that would amount to fraud upon the judgment creditor, see
     Tabet v. Tabet, 644 So.2d 557 (Fla. 3d DCA 1994), and to have a receiver appointed to
     take possession of the debtor's property. See Warshall v. Price, 617 So.2d 751.



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     unregistered copyrights, top level Internet domain names and the inventory and goodwill

     associated therewith in the name of Judgment Debtor, and/or certain domain registrations

     owned by the Judgment Debtor, specifically including the Flava IP, (2) to pierce the

     corporate veil and reach corporate assets in the hands of the Judgment Debtor’s individual

     stockholder(s), (3) to set aside fraudulent transfers of Judgment Debtor’s property to third

     persons, (4) to reach the Judgment Debtor’s assets in the hands of a successor

     corporation(s) under the theory of successor liability, and (5) to afford the Judgment

     Creditors other complete relief possible in satisfying the judgment as this Court deems just

     and proper under the circumstances. The Judgment Creditors have filed the appropriate

     Affidavit with this Court stating that the execution remains valid and outstanding, and that

     the Judgment Creditors are entitled to these proceedings supplementary to execution. See

     Exhibit “III. Nothing else is required in order to obtain an order for proceedings

     supplementary. See Regent Bank v. Woodcox, 636 So.2d 885, 886 (Fla 4th DCA 1994);

     Rosenfeld v. T.P.I. Int’l Airways, 630 So.2d 1167, 1168 (Fla. 4th DCA 1993); Continental

     Cigar Corp., 397 So.2d at 958.

            C. Proceedings Supplementary May be Used to Seize Judgment Debtor’s
                Intellectual Property

            As set forth above, proceedings supplementary may be used to seize intellectual

     property, such as copyright registrations or unregistered copyrights and top level Internet

     domain names. Here, Judgment Creditors seek to use these proceedings supplementary to

     seize the Judgment Debtor’s copyright registrations and/or unregistered copyrights, top

     level Internet domain names and the inventory and goodwill associated therewith in the

     name of the Judgment Debtor, specifically including the Flava IP, to partially satisfy the

     Order against the Judgment Debtor. In Continental Cigar Corp., the Florida Third District

     Court of Appeal affirmed a trial court’s order granting summary judgment in proceedings


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     which held that certain intellectual property (trademark) rights held in a third party’s name

     were in reality an asset of the judgment debtor. As a result, the trial court entered an order

     requiring the third party to quitclaim the trademarks to the judgment debtor, and reserved

     jurisdiction to appoint a receiver over the judgment debtor. Continental Cigar Corp., 397

     So.2d at 957. The Court also entered an injunction enjoining the third party from further

     use of the trademark. The Third District Court of Appeal affirmed the trial court’s actions

     in all respects. Id.

             D. Phillip Bleicher Must Be Impleaded in This Action.

             “Under decisional law interpreting Fla. Stat. ch. 56.29, the two jurisdictional

     prerequisites for supplementary proceedings are (1) an unsatisfied writ of execution, and

     (2) an affidavit averring that the writ is valid and unsatisfied along with a list of persons to

     be impleaded.” Allied Indus. Int'l, Inc. v. AGFA-Gevaert, Inc., 688 F. Supp. 1516, 1517

     (S.D. Fla. 1988). Once these requirements are met, the statute must be given a liberal

     construction to afford a judgment creditor the most complete relief possible. Id. When a

     party properly meets the stated requirements and establishes a prima facie case, as has been

     done by the Judgment Creditors in this case, the court has the authority and in fact a duty

     to implead third parties. Judgment Debtors are merely the alter ego of Phillip Bleicher and

     therefore Bleicher must be impleaded into this current action.

             Section 56.29(2), Fla. Stat. (2016) governs the process of impleading third parties

     into proceedings supplementary. In cases alleging alter ego liability, the description

     requirement of § 56.29(2), Fla. Stat. (2016) is satisfied if the judgment creditor describes

     any property of an alter ego of the judgment debtor not exempt from execution in the hands

     of any person, or any property, debt, or other obligation due to an alter ego of the judgment

     debtor which may be applied toward the satisfaction of the judgment. Longo v. Associated



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     Limousine Servs., 236 So. 3d 1115, 1116 (Fla. Dist. Ct. App. 2018). Judgment Debtors

     have brought suit on claimed copyrights and Internet domain names [D.E. 1 para. 17] that

     are registered under the name Phillip Bleicher (See Exhibit II for list of copyrights owned

     by Bleicher) “Because a judgment debtor and an alter ego are treated as the same entity,

     the required description of "any property of the judgment debtor, or any property, debt, or

     other obligation due to the judgment debtor" in § 56.29(2), Fla. Stat. (2016) may include

     property of an alleged alter ego of the judgment debtor.” Id.

            As is previously mentioned in this motion, Judgment Creditors may seize

     intellectual property belonging to the Judgment Debtors in a Proceedings Supplementary.

     A judgment creditor can implead any person in possession of the judgment debtor’s

     property that can be used to satisfy the judgment—i.e. “not exempt” property—may be

     impleaded in proceedings supplementary. Fla. Stat. § 56.29(2). Some of the copyrights to

     which the Judgment Creditors will properly be able to seize to satisfy the outstanding

     judgment are owned by Judgment Debtor’s alter ego, Phillip Bleicher. Therefore, in order

     to afford Judgment Creditors the most complete relief possible, Phillip Bleicher must be

     impleaded into the current action.

            E. Conclusion

            Pursuant to § 56.29(9), Judgment Creditors are entitled to this Proceedings

     Supplementary as a matter of law and may recover property owned by the Judgment Debtor

     in order to satisfy the outstanding $81,958.72, as ordered by the court in its Order Granting

     in Part and Denying in Part Judgment Creditors’ aforementioned Verified Motion [D.E.

     167] and issued in the Writ of Execution by this court [D.E. 173]. Such property may

     include intellectual property owned by the Judgment Debtor, specifically Flava IP and/or

     certain domain registrations owned by the Judgment Debtor and its alter ego, Phillip



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     Bleicher. To properly afford Judgment Creditors with the most complete form of relief

     possible, Phillip Bleicher must be impleaded because he has certain copyrights and domain

     names registered under his name that constitute property being sought to satisfy the

     outstanding judgment owed to the Judgment Creditors.

            WHEREFORE, Judgment Creditors respectfully request that this Court enter an

     Order granting the following relief:

            (a) granting proceedings supplementary pursuant to § 56.29(9), Fla. Stat. and

                entering an order (1) to seize certain property, namely, copyright registrations

                and/or unregistered copyrights and the inventory and goodwill associated

                therewith in the name of Judgment Debtor, specifically including the Flava IP,

                and/or certain domain registrations owned by the Judgment Debtor, (2) to pierce

                the corporate veil and reach corporate assets in the hands of the Judgment

                Debtor’s individual stockholder(s), (3) to set aside fraudulent transfers of

                Judgment Debtor’s property to third persons, (4) to reach the Judgment

                Debtor’s assets in the hands of a successor corporation(s) under the theory of

                successor liability, and (5) to afford the Judgment Creditors other complete

                relief possible in satisfying the judgment as this Court deems just and proper

                under the circumstances.

            (b) directing the Judgment Debtor to appear before this Court or a designated

                Magistrate to be examined in Miami-Dade County at a time and date specified

                by this Court concerning its assets;

            (c) directing Phillip Bleicher to be impleaded into this current action so that certain

                property belonging to him may be considered in satisfying Judgment Creditors’

                unsatisfied judgment;



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             (d) granting Judgment Creditors their costs for these Proceedings Supplementary,

                 as well as other reasonable and just incidental costs, as well as reasonable

                 attorneys’ fees against the Judgment Debtor pursuant to § 56.29(11).



                                                            Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that on this 21ST day of December 2018, I electronically filed

      the foregoing document with the Clerk of the Court using its CM/ECF System. I also certify

      that the foregoing document is being served this day on all counsel of record or pro se

      parties identified on the following Service List in the manner specified, either via

      transmission of Notice of Electronic Filing generated by this Court’s CM/ECF System, or

      in some other authorized manner for those counsel or parties who are not authorized to

      electronically receive notice of electronic filing.


                                                            By:    /s/ John F. Bradley
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